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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


                               Alexandria Division




 HALOZYME, INC.,

       Plaintiff,



 V.                                       Civil Action No. l:16-cv-1580



 JOSEPH MATAL,

       Defendant.




                                        ORDER


       THIS   MATTER   comes   before   the   Court on   Defendant's Motion in


 Limine and Plaintiff's Motions in Limine.               It is hereby

       ORDERED   that   Defendant's      Motion   in   Limine   and   Plaintiff's


 Motions in Limine are DENIED without prejudice to being raised

 at the time of trial.




                                              CLAUDE M. HILTON
                                              UNITED STATES DISTRICT JUDGE


 Alexandria, Virginia
 November      , 2017
